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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 MYA BATTON, et al., individually                  )
 and on behalf of all others similarly situated,   )
                                                   )
                Plaintiffs,                        )
                                                   )           No. 21-cv-00430
       v.                                          )
                                                   )           Judge LaShonda A. Hunt
 THE NATIONAL ASSOCIATION OF                       )
 REALTORS, et al.,                                 )
                                                   )
                Defendants                         )

  STIPULATION AND PROTECTIVE ORDER REGARDING EXPERT DISCOVERY

       1.      Plaintiffs and Defendants (collectively “Parties”) to the above-captioned case (the

“Action”), through their undersigned counsel, hereby stipulate and agree to modify the

requirements of Rules 26(a)(2) and 26(b)(4) of the Federal Rules of Civil Procedure, or any other

potentially applicable law, rule, or regulation governing the Action, with respect to the scope of

discovery in the Action concerning documents or information created in connection therewith by

or on behalf of any witness whom a party (“Sponsoring Party”) expects to use to provide expert

testimony at trial or at any hearing (a “Testifying Expert”), as set forth herein.

       2.      This Stipulation and Order shall govern discovery related to Testifying Experts in

this Action whose identities are required to be disclosed pursuant to Fed. R. Civ. P. 26(a)(2)(A)

and this Stipulation and Order. The Parties agree that there shall be no discovery or disclosures

with respect to consulting experts. To the extent this Stipulation and Order limits discovery that

would otherwise be available pursuant to the Federal Rules of Civil Procedure, the Parties agree

to abide by the limits set forth in this Stipulation and Order. Nothing in this Stipulation and Order

constitutes an admission or concession that any of the information exempted from discovery by



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this Stipulation and Order would otherwise be discoverable or admissible. Further, nothing in this

Stipulation and Order requires discovery of any information that would otherwise be protected

from discovery by the attorney-client privilege, work-product doctrine, the common interest or

joint-defense privilege, or other applicable privileges or protections.

        3.      Each Sponsoring Party shall make all disclosures required by Rule 26(a)(2)(A) and

(B)(i), (iii), (iv), (v), and (vi) of the Federal Rules of Civil Procedure, as modified by this

Stipulation and Order, at the times provided by any applicable rules and Court order(s) governing

the disclosure of expert testimony in this Action. Within five calendar days of disclosing any

expert testimony, including written reports, the Sponsoring Party(ies) shall produce to all Parties

all data and other information that the Testifying Expert relied upon in forming his or her

opinion(s). For the following specific categories of information on which a Testifying Expert may

have relied, a Sponsoring Party can comply with this Paragraph by identifying the information in

writing as specified, rather than by producing the information: (i) Bates ranges of documents or

other information produced in this Action; (ii) deponent names and dates for transcripts of

depositions taken in this Action; (iii) exhibit numbers of all exhibits from such depositions; and

(iv) citations for publicly available articles, cases, statutes, journals, treatises, regulatory filings, or

other public sources, or to the extent that such citations are not available, by producing the public

information relied upon. To the extent the disclosures required by this Stipulation and Order

describe or include exhibits, information, or data results generated, processed, or modeled by

computer at the direction of a disclosed Testifying Expert and relied upon in forming his or her

opinions, machine readable copies of the input data along with the appropriate computer

program(s) and instructions sufficient to replicate such exhibits, information, and data results shall

be produced to all Parties. All input data, computer program code, and instructions used to




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generate the exhibits, information, or data results relied upon by a disclosed Testifying Expert to

form his or her opinion(s) shall be produced, except no Sponsoring Party need produce computer

programs that are reasonably and readily commercially available.

         4.    All electronic data, together with program(s) and instructions described in

Paragraph 3, shall be made available within the five calendar day period described therein, and

shall be delivered by hand, overnight express, or electronic means (e.g., FTP) to counsel for each

Party.

         5.    The following categories of data, information, or documents need not be preserved

or disclosed by any Sponsoring Party and shall not be the subject of discovery, and no questions

concerning their content or existence shall be permitted at any deposition, hearing, or trial, so long

as the Testifying Expert did not rely on them in forming his or her disclosed opinion(s) or other

testimony:

               (a)     draft reports, draft studies, draft work papers, or notes of any kind on drafts;

preliminary or intermediate calculations, computations, or data runs; or other preliminary,

intermediate, or draft materials created, prepared, or provided, by, for, or at the direction of a

Testifying Expert in connection with the Action (including any such materials prepared by

(i) persons working under the Testifying Expert’s supervision, (ii) the Sponsoring Party or its

counsel, including agents and/or consultants of counsel, or (iii) other agents or consultants of the

Sponsoring Party);

               (b)     any oral or written communication, or document constituting or reflecting

any oral or written communication, between or among the Testifying Expert (or persons supporting

the Testifying Expert) and some or all of the persons listed below, unless the Testifying Expert is

relying upon the communication in connection with the Testifying Expert’s opinions in this matter:




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                       i.      the Testifying Expert’s assistants and/or clerical or support staff;

                       ii.     one or more other Testifying Experts or non-testifying expert

                               consultants, if the Sponsoring Party retains two or more Testifying

                               Experts;

                       iii.    the Sponsoring Party, including any attorney, agent or consultant of

                               the Sponsoring Party;

        6.      Without varying the above paragraphs, nothing in this Stipulation shall be

construed to prevent substantive deposition questions with respect to any data or other information

not protected by the attorney-client privilege or work product doctrine that may be relevant to the

substance of the Testifying Expert’s opinions, including alternative theories, methodologies,

variables, data, or assumptions, if any, that the Testifying Expert may have considered in preparing

his or her report.

        7.      This Stipulation and Order does not impose any independent obligation to retain

the information covered by Paragraph 5, above.

        8.      Notwithstanding any other provision in this Stipulation and Order, this Stipulation

and Order does not preclude or limit discovery regarding expert work, data, calculations, or other

material filed with or otherwise submitted to the Court outside of written expert witness reports or

disclosed expert witness testimony.

        9.      This Stipulation and Order also does not preclude reasonable questions at

deposition related to an expert witness’s compensation, or to the number of hours the expert

witness expended in preparing his or her opinion(s).

        10.     Further, nothing herein shall be construed to prevent questions relating to the

substance of the Testifying Expert’s opinion(s) (including alternative theories, methodologies,




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variables, or assumptions that the expert witness may not have relied upon in formulating his or

her opinions). Thus, notwithstanding anything to the contrary herein, a Testifying Expert may be

presented at deposition, hearing, or trial with documents, testimony, or other materials not

contained in his or her expert report and questioned about whether the Testifying Expert relied or

did not rely on such documents, testimony, or other materials in formulating his or her opinion(s),

and whether such documents, testimony, or other materials would cause the Testifying Expert to

alter her or his opinion(s) in any respect.

       11.     Nothing herein shall limit or waive any Party’s right to object to the admission into

evidence of any report or opinion(s) or other materials of an opposing Party’s Testifying Expert,

or to the qualification of any person to serve as an expert witness.

       12.     Nothing herein relieves a Party’s Testifying Expert or non-testifying consultant

from complying with the requirements of Agreed Confidentiality Order entered in this Action on

June 13, 2024 (ECF No. 161), including, but not limited to: (i) the requirement that the Testifying

Expert or non-testifying consultant sign the certification attached as Exhibit A to the Agreed

Confidentiality Order; (ii) the restrictions placed on the review and use of Confidential or Highly

Confidential – Outside Counsel Eyes Only Material by a Testifying Expert or non-testifying

consultant; (iii) the requirement that a Testifying Expert or non-testifying consultant adhere to the

protections afforded Confidential or Highly Confidential – Outside Counsel Eyes Only Material;

(iv) the requirement that a Testifying Expert or non-testifying consultant abide by the Agreed

Confidentiality Order’s provisions for filing of Confidential or Highly Confidential – Outside

Counsel Eyes Only Material; and (iv) the obligations imposed on a Testifying Expert or non-

testifying consultant upon conclusion of the litigation.




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       13.     No subpoena for deposition or documents need be served on any Testifying Expert.

Instead, the Sponsoring Party shall make the Testifying Expert available for a deposition at a time

and place mutually agreeable to the Parties and shall produce documents in accordance with the

terms of this Stipulation and Order.

       14.     This Stipulation and Order may be amended only by a subsequent written

stipulation among the Parties or upon order of the Court.

       15.     This Stipulation and Order shall become effective as a stipulation as among the

Parties immediately upon submission to the Court (after all Parties have stated their assent to the

stipulation by email).

       So Ordered.
        6/10/2025
 Dated: __________________                          ______________________________
                                                    HON. LaSHONDA A. HUNT
                                                    United States District Judge




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